 

Case 1:18-cv-07871-NRB Document 27 Filed 11/04/19 Page 1 of 1

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ORTIZ & ORTIZ DOCUMENT

 

 

 

 

 

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Attorneys at Law 1} DOC #:
32-72 Steinway Street, Suite 402 DATE FILED: il A

Astoria, New York 11103

 

 

 

Frank A. Ortiz (1931-2016) Tel. (718) 522-1117
Norma E. Ortiz* Fax (718) 596-1302
email@ortizandortiz.com

Maria Perez Brown*
* (Admitted in New York and New Jersey) Nowe ceeleee. t , 200 ”
February 8,201?

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Hon. Naomi R. Buchwald 4
500 Pearl Street hapa 4 greg Lesatl,
“ D, ‘ AE
New York, New York 10007 hhawes , bch 3
Re: Noble v. Mount Olivet Church iff
Civil Case No. 18-cv-07871 “AF/19

Status Report
Dear Judge Buchwald:

Your Honor ordered the completion of discovery by October 29". My office incorrectly
calendered the deadline as November 1*. I apologize for my late report.

The Defendant has agreed to produce one more person for a deposition. If Your Honor
permits another extension of our time, we intend to conduct that deposition before the end of
November. In addition, the parties have requested cell phone records that we have not yet
obtained and have not received.

Once that deposition is completed, and we have exchanged the remaining documents,
we believe we will file a pre-motion letter for permission to move for summary judgment.

I have conferred with counsel before making this request for a final extension. I do not
believe we will require any further extensions for discovery.

Thank you for your time and consideration.
Very truly yours,
S/Norma E. Ortiz

cc: David Broderick, Esq.
